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                             UNITED STATE DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

In Re: Oil Spill by the Oil Rig                 : MDL NO. 2179
       “Deepwater Horizon” in the Gulf         :
       of Mexico, on April 20, 2010             : SECTION: J
                                                :
This Document Relates to:                       : JUDGE BARBIER
      Civil Action 10-4536                     : MAG. JUDGE SHUSHAN
.. .. .. .. .. .. .. .. .. .. .. ..           .. .. .. .. .. .. .. .. .. .. .. .. .. ..

                   ORDER RE: MOTION OF UNITED STATES FOR
                 PARTIAL SUMMARY JUDGMENT AS TO LIABILITY
       UPON CONSIDERATION of the Motion of Plaintiff United States for Partial Summary

Judgment as to the Liability of BP Exploration and Production, Inc. (“BP”); Transocean

Deepwater Inc., Transocean Offshore Deepwater Drilling Inc., Transocean Holdings LLC, and

Triton Asset Leasing GmbH (collectively, “the Transocean Defendants”); and Anadarko

Petroleum Corporation (“APC”) and Anadarko E&P Company LP (“A E&P) (collectively, “the

Anadarko Defendants”) and the Memorandum and Supporting Exhibits thereto; the Opposition

of the Defendants to such Motion; and oral argument on the Motion and Opposition,
       IT IS ORDERED that the Motion of the United States is GRANTED as follows:

1) BP, the Transocean Defendants, and the Anadarko Defendants are strictly liable under the

   First Claim for relief for a civil penalty under Section 311(b) (7)(A) of the Clean Water Act,

   33 U.S.C. § 1321(b)(7)(A). Whether the discharge was the result of gross negligence or

   willful misconduct under Section 311(b)(7)(D), 33 U.S.C. § 1321(b)(7)(D), the number of
   barrels of oil discharged, and the final penalty amounts to be paid, remain to be decided later.

2) The Anadarko Defendants are jointly and severally liable under the Second Claim for Relief

   as Responsible Parties under Section 1002 of the Oil Pollution Act, 33 U.S.C. § 2702, for all

   removal costs and damages that result from the Oil Spill by the Oil Rig “Deepwater Horizon”
   in the Gulf of Mexico, on April 20, 2010. Such liability is not subject to the limitation on

   liability set forth in Section 1004 of OPA, 33 U.S.C. § 2704. The Court separately enters a
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   declaratory judgment under 33 U.S.C. § 2716(f) and 28 U.S.C. § 2201, enforceable in this or

   any subsequent administrative or judicial proceeding to recover any specific amounts of

   removal costs and damages. There being no just reason for delay, the judgment is a final
   judgment under Fed. R. Civ. P. 54(b).

3) The Transocean Defendants are jointly and severally liable under the Second Claim for

   Relief as Responsible Parties under Section 1002 of the Oil Pollution Act, 33 U.S.C. § 2702,

   for the removal costs and damages that result from the Oil Spill by the Oil Rig “Deepwater

   Horizon” in the Gulf of Mexico, on April 20, 2010. The applicability of any limitation of
   liability set forth in Section 1004 of OPA, 33 U.S.C. § 2704, remains to be determined.



       So Ordered and Adjudged, this _____ day of ____________, 20__, in New Orleans,
Louisiana.


                                                   ______________________
                                                   CARL J. BARBIER
                                                   UNITED STATES DISTRICT JUDGE




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